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                                                                          1                                                                                    JANUARY 3, 2018.

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                                                                          6                              IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9
                                                                         10   WAYMO LLC,
                                                                         11
United States District Court




                                                                                            Plaintiff,                                     No. C 17-00939 WHA
                               For the Northern District of California




                                                                         12     v.
                                                                         13   UBER TECHNOLOGIES, INC.,
                                                                         14   and OTTOMOTTO LLC,                                           SPECIAL VERDICT FORM
                                                                                                                                                [PROPOSED]
                                                                         15                 Defendants.
                                                                                                                /
                                                                         16
                                                                         17          In answering this special verdict form, please refer to the Alleged Trade Secrets as

                                                                         18   defined and numbered in Trial Exhibit _____. Your answers must be unanimous.

                                                                         19
                                                                         20          1.     Separately as to each Alleged Trade Secret, state whether or not Waymo has

                                                                         21   proven the following parts of its claim for misappropriation against Uber Technologies, Inc.

                                                                         22   Answer “Yes” or “No.” To sustain such a claim as to any Alleged Trade Secret, you must find

                                                                         23   Waymo has proven all of the elements in the three columns below, meaning “Yes” in all three

                                                                         24   columns. If you answer “No” as to any column, then you need not consider and need not

                                                                         25   answer as to the other columns for that particular Alleged Trade Secret, although you may do so

                                                                         26   if you wish. You are free to consider the Alleged Trade Secrets and the columns in any

                                                                         27   sequence or order you prefer. In any answer, you must follow the instructions of law.

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                                                                              Case 3:17-cv-00939-WHA Document 2449-1 Filed 01/03/18 Page 2 of 6



                                                                          1                                            ENFORCIBLE          IMPROPERLY           USED OR
                                                                          2                                           TRADE SECRET?         ACQUIRED?          DISCLOSED?
                                                                               ALLEGED TRADE SECRET NO. 2               __________         __________          __________
                                                                          3
                                                                               ALLEGED TRADE SECRET NO. 7               __________         __________          __________
                                                                          4
                                                                               ALLEGED TRADE SECRET NO. 9               __________         __________          __________
                                                                          5
                                                                               ALLEGED TRADE SECRET NO. 13              __________         __________          __________
                                                                          6    ALLEGED TRADE SECRET NO. 14              __________         __________          __________
                                                                          7    ALLEGED TRADE SECRET NO. 25              __________         __________          __________
                                                                          8    ALLEGED TRADE SECRET NO. 90              __________         __________          __________

                                                                          9    ALLEGED TRADE SECRET NO. 111             __________         __________          __________

                                                                         10
                                                                         11          If you have answered “No” in at least one column for all eight Alleged Trade Secrets,
United States District Court




                                                                              then skip ahead to Question No. 5. Otherwise, meaning you have answered “Yes” as to all
                               For the Northern District of California




                                                                         12
                                                                         13   three columns for at least one Alleged Trade Secret, continue to the next three questions.

                                                                         14
                                                                         15          2.       Only with respect to any Alleged Trade Secret for which you answered “Yes” in

                                                                         16   all three columns in the previous question, state whether or not Waymo has proven that Uber

                                                                         17   was unjustly enriched and that such use or disclosure was a substantial factor in bringing about

                                                                         18   such unjust enrichment. If you answer “Yes,” then further state the dollar amount by which

                                                                         19   Waymo has proven that Uber was unjustly enriched (or, if such amount is not calculable, then

                                                                         20   enter “Zero” in the dollar amount column). If you answer “No,” then leave the dollar amount

                                                                         21   column blank:

                                                                         22                                            UNJUST ENRICHMENT/              DOLLAR AMOUNT
                                                                                                                       SUBSTANTIAL FACTOR?
                                                                         23
                                                                               ALLEGED TRADE SECRET NO. 2                    __________                   __________
                                                                         24
                                                                               ALLEGED TRADE SECRET NO. 7                    __________                   __________
                                                                         25
                                                                               ALLEGED TRADE SECRET NO. 9                    __________                   __________
                                                                         26    ALLEGED TRADE SECRET NO. 13                   __________                   __________
                                                                         27    ALLEGED TRADE SECRET NO. 14                   __________                   __________
                                                                         28    ALLEGED TRADE SECRET NO. 25                   __________                   __________


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                                                                              Case 3:17-cv-00939-WHA Document 2449-1 Filed 01/03/18 Page 3 of 6



                                                                          1                                            UNJUST ENRICHMENT/               DOLLAR AMOUNT
                                                                          2                                            SUBSTANTIAL FACTOR?
                                                                               ALLEGED TRADE SECRET NO. 90                    __________                   __________
                                                                          3
                                                                               ALLEGED TRADE SECRET NO. 111                   __________                   __________
                                                                          4
                                                                          5
                                                                                     Remember, as I said in the jury instructions, if you answer “Yes” and “Zero” as to any
                                                                          6
                                                                              Alleged Trade Secret, we may have supplemental proceedings as to that Alleged Trade Secret
                                                                          7
                                                                              with respect to an alternative form of award.
                                                                          8
                                                                          9
                                                                                     3.      If you entered dollar amounts greater than zero in two or more blanks in the
                                                                         10
                                                                              preceding question, then, in order to eliminate any possibility of double or multiple counting,
                                                                         11
United States District Court




                                                                              state the grand total of all such unjust enrichment to Uber without any double or multiple
                               For the Northern District of California




                                                                         12
                                                                              countings:
                                                                         13
                                                                         14
                                                                                                            $____________________
                                                                         15
                                                                         16
                                                                                     4.      Has Waymo proven that Uber acted willfully and maliciously with respect to any
                                                                         17
                                                                              misappropriation found by you? If “Yes,” state the dollar amount of any exemplary damages
                                                                         18
                                                                              you award.
                                                                         19
                                                                         20
                                                                                                      YES             NO                       AMOUNT
                                                                         21
                                                                                                    _______         _______                $______________
                                                                         22
                                                                         23
                                                                                                             *                 *                *
                                                                         24
                                                                         25
                                                                                     The next group of questions concerns Ottomotto LLC and parallels the questions above.
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                                                                         28


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                                                                              Case 3:17-cv-00939-WHA Document 2449-1 Filed 01/03/18 Page 4 of 6



                                                                          1          5.      Separately as to each Alleged Trade Secret, state whether or not Waymo has
                                                                          2   proven the following parts of its claim for misappropriation against Ottomotto LLC. Answer
                                                                          3   “Yes” or “No.” To sustain such a claim as to any Alleged Trade Secret, you must find Waymo
                                                                          4   has proven all of the elements in the three columns below, meaning “Yes” in all three columns.
                                                                          5   If you answer “No” as to any column, then you need not consider and need not answer as to the
                                                                          6   other columns for that particular Alleged Trade Secret, although you may do so if you wish.
                                                                          7   You are free to consider the Alleged Trade Secrets and the columns in any sequence or order
                                                                          8   you prefer. In any answer, you must follow the instructions of law for that issue.
                                                                          9
                                                                         10                                            ENFORCIBLE           IMPROPERLY              USED OR
                                                                                                                      TRADE SECRET?          ACQUIRED?             DISCLOSED?
                                                                         11
United States District Court




                                                                               ALLEGED TRADE SECRET NO. 2               __________          __________             __________
                               For the Northern District of California




                                                                         12    ALLEGED TRADE SECRET NO. 7               __________          __________             __________
                                                                         13    ALLEGED TRADE SECRET NO. 9               __________          __________             __________

                                                                         14    ALLEGED TRADE SECRET NO. 13              __________          __________             __________
                                                                               ALLEGED TRADE SECRET NO. 14              __________          __________             __________
                                                                         15
                                                                               ALLEGED TRADE SECRET NO. 25              __________          __________             __________
                                                                         16
                                                                               ALLEGED TRADE SECRET NO. 90              __________          __________             __________
                                                                         17
                                                                               ALLEGED TRADE SECRET NO. 111             __________          __________             __________
                                                                         18
                                                                         19
                                                                                     If you have answered “No” in at least one column for all eight Alleged Trade Secrets,
                                                                         20
                                                                              then you are done — go to the end of the form and sign and date it. Otherwise, meaning you
                                                                         21
                                                                              have answered “Yes” as to all three columns for at least one Alleged Trade Secret, continue to
                                                                         22
                                                                              the next three questions.
                                                                         23
                                                                         24
                                                                                     6.      Only with respect to any Alleged Trade Secret for which you answered “Yes”
                                                                         25
                                                                              in all three columns in the previous question, state whether or not Waymo has proven that
                                                                         26
                                                                              Ottomotto was unjustly enriched and that such use or disclosure was a substantial factor in
                                                                         27
                                                                              bringing about such unjust enrichment. If you answer “Yes,” then further state the dollar
                                                                         28
                                                                              amount by which Waymo has proven that Ottomotto was unjustly enriched (or, if such amount

                                                                                                                              4
                                                                              Case 3:17-cv-00939-WHA Document 2449-1 Filed 01/03/18 Page 5 of 6



                                                                          1   is not calculable, then enter “Zero” in the dollar amount column). If you answer “No,” then
                                                                          2   leave the dollar amount column blank:
                                                                          3
                                                                          4                                            UNJUST ENRICHMENT/               DOLLAR AMOUNT
                                                                                                                       SUBSTANTIAL FACTOR?
                                                                          5    ALLEGED TRADE SECRET NO. 2                     __________                   __________
                                                                          6    ALLEGED TRADE SECRET NO. 7                     __________                   __________
                                                                          7    ALLEGED TRADE SECRET NO. 9                     __________                   __________

                                                                          8    ALLEGED TRADE SECRET NO. 13                    __________                   __________
                                                                               ALLEGED TRADE SECRET NO. 14                    __________                   __________
                                                                          9
                                                                               ALLEGED TRADE SECRET NO. 25                    __________                   __________
                                                                         10
                                                                               ALLEGED TRADE SECRET NO. 90                    __________                   __________
                                                                         11
United States District Court




                                                                               ALLEGED TRADE SECRET NO. 111                   __________                   __________
                               For the Northern District of California




                                                                         12
                                                                         13
                                                                                     Remember, as I said in the jury instructions, if you answer “Yes” and “Zero” as to any
                                                                         14
                                                                              Alleged Trade Secret, we may have supplemental proceedings as to that Alleged Trade Secret
                                                                         15
                                                                              with respect to an alternative form of award.
                                                                         16
                                                                         17
                                                                                     7.      If you entered a dollar amount greater than zero in two or more blanks in the
                                                                         18
                                                                              preceding question, then, in order to eliminate any possibility of double or multiple counting,
                                                                         19
                                                                              state the grand total of all such unjust enrichment to Ottomotto without any double or multiple
                                                                         20
                                                                              countings:
                                                                         21
                                                                         22
                                                                                                                    $____________________
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                                                                          1          8.     Has Waymo proven that Ottomotto acted willfully and maliciously with respect
                                                                          2   to any misappropriation found by you? If “Yes,” state the dollar amount of any exemplary
                                                                          3   damages you award.
                                                                          4
                                                                                                     YES               NO                    AMOUNT
                                                                          5
                                                                                                   _______           _______            $______________
                                                                          6
                                                                          7
                                                                          8
                                                                                     Your answer to all of the foregoing questions must be unanimous.
                                                                          9
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                                                                         11
United States District Court
                               For the Northern District of California




                                                                         12
                                                                              Dated: February ___, 2018.
                                                                         13                                                             FOREPERSON
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